
Per curiam.
The respondent, Harry A. Osborne, attorney, having filed an amended petition for voluntary discipline, namely a public *154reprimand, and the special master having recommended that respondent’s amended petition be accepted and that respondent receive a public reprimand, the decision of the special master is approved and it is ordered that Harry A. Osborne receive a public reprimand as provided by the rules of the State Bar of Georgia.
Decided February 17, 1981.
Omer W. Franklin, Jr., General Counsel State Bar, Viola L. Sellers, Assistant General Counsel State Bar, for State Bar of Georgia.
G. Robert Oliver, for Osborne.

It is so ordered.


All the Justices concur.

